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4                                  UNITED STATES DISTRICT COURT
5                                       DISTRICT OF NEVADA
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7     FERNANDO NAVARRO HERNANDEZ,                    Case No. 3:09-cv-00545-LRH-WGC
8           Petitioner,
                                                     ORDER GRANTING
9            v.                                      MOTION FOR EXTENSION OF TIME
                                                     (ECF NO. 247)
10
      WILLIAM GITTERE, et al.,
11
            Respondents.
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14          In this capital habeas corpus action, the Respondents were due to file an answer
15   by January 8, 2021. See Order entered September 10, 2020 (ECF No. 242).
16          On January 6, 2021, Respondents filed a motion for extension of time (ECF No.
17   247), requesting a 60-day extension of time, to March 9, 2021. Respondents’ counsel
18   states that the extension of time is necessary because of the complexity of the case, her
19   responsibilities in other cases, and time away from her office. The Petitioner does not
20   oppose the motion for extension of time.
21          The Court finds that the motion for extension of time is made in good faith and
22   not solely for the purpose of delay, and that there is good cause for the extension of
23   time requested.
24          IT IS THEREFORE ORDERED that Respondents’ Motion for Enlargement of
25   Time (ECF No. 247) is GRANTED. Respondents will have until and including March 9,
26   2021, to file their answer.
27   ///
28   ///
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1           IT IS FURTHER ORDERED that, in all other respects, the schedule for further

2    proceedings set forth in the order entered February 20, 2015 (ECF No. 94) will remain

3    in effect.

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5           DATED this 7th day of January, 2021.
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                                             LARRY R. HICKS
8                                            UNITED STATES DISTRICT JUDGE
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